                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE

 KAYLON M. BATTS,                                )
                                                 )
                Petitioner,                      )
                                                 )
 v.                                              )       Nos.: 3:13-CR-67-TAV-HBG-1
                                                 )             3:16-CV-356-TAV
 UNITED STATES OF AMERICA,                       )
                                                 )
                Respondent.                      )


                                  MEMORANDUM OPINION

        Before the Court is Petitioner’s pro se motion to vacate, set aside, or correct her sentence

 pursuant to 28 U.S.C. § 2255 [Doc. 118]. She bases her request for relief on Johnson v. United

 States, 135 S. Ct. 2551 (2015), in which the Supreme Court held that the residual clause of the

 Armed Career Criminal Act (“ACCA”) was unconstitutionally vague [Id.]. The United States

 responded in opposition on July 29, 2016 [Doc. 122]. Petitioner did not reply and the time for

 doing so has now passed. E.D. Tenn. L.R. 7.1, 7.2. For the following reasons, Petitioner’s §

 2255 motion [Doc. 118] will be DENIED and DISMISSED WITH PREJUDICE.

 I.     BACKGROUND

        In 2014, Petitioner pled guilty to attempted armed bank robbery, in violation of 18 U.S.C.

 § 2113(a) and (d); using, carrying, and brandishing a firearm during and in relation to a crime of

 violence, in violation of 18 U.S.C. § 924(c); and carjacking, in violation of 18 U.S.C. § 2119

 [Doc. 45]. The United States Probation Office calculated Petitioner’s Guideline range as 84 to

 105 months’ imprisonment, followed by the statutorily mandated consecutive minimum sentence

 of 84 months’ for the § 924(c) offense [Presentence Investigation Report (PSR) ¶¶ 40, 49, 65–

 67]. On May 14, 2014, this Court sentenced Petitioner to an aggregate term of 240 months’




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 imprisonment—concurrent 120-month terms for the bank robbery and carjacking offenses and a

 consecutive 84-month term for the § 924(c) offense [Doc. 82]. No direct appeal was taken.

 Slightly over two years later—on June 20, 2016—Petitioner filed the instant collateral challenge

 based on the Johnson decision [Doc. 118 (seeking vacatur of his § 924(c) conviction)].

 II.    ANALYSIS

        Petitioner’s argument appears to be that the Johnson decision invalidated the similarly-

 worded residual clause in § 924(c)(3)(B), thereby precluding his violation of 18 U.S.C. § 2113(a)

 and (d) from categorization as a “crime of violence” sufficient to support a conviction under §

 924(c)(1)(A) [Doc. 118]. The argument fails because binding Sixth Circuit precedent holds that

 while Johnson invalidated the residual provision of the Armed Career Criminal Act (“ACCA”),

 18 U.S.C. 924(e), and identically worded clause in Section 4B1.2 of the United States

 Sentencing Guidelines, § 924(c)(3)(B)’s definition of crime of violence remains unaffected.1 See




 1
        The ACCA mandates a 15-year sentence for any felon who unlawfully possesses a
 firearm after having sustained three prior convictions “for a violent felony or a serious drug
 offense, or both, committed on occasions different from one another.” 18 U.S.C. § 924(e)(1).
 The statute defines “violent felony” as “any crime punishable by imprisonment for a term
 exceeding one year” that (1) “has as an element the use, attempted use, or threatened use of
 physical force against the person of another” (the “use-of-physical-force clause”); (2) “is
 burglary, arson, or extortion, involves the use of explosives” (the “enumerated-offense clause”);
 or (3) “otherwise involves conduct that presents a serious potential risk of physical injury to
 another” (the “residual clause”). 18 U.S.C. § 924(e)(2)(B). It was this third clause—the residual
 clause—that the Supreme Court deemed unconstitutional in Johnson. 135 S. Ct. at 2563.

 Section 4B1.1 enhances a defendant’s offense level if he or she qualifies as a “career offender,”
 i.e., adult defendant whose offense of conviction is a “crime of violence or controlled substance
 offense” and who has “at least two prior felony convictions of either a crime of violence or a
 controlled substance offense.” U.S. Sentencing Manual § 4B1.1(a). “Crime of violence” under
 the Guidelines is defined in an almost identical manner as “violent felony” under the ACCA.
 See U.S. Sentencing Manual § 4B1.2(a) (adopting identical use-of-force and residual clauses as
 well as a nearly identical enumerated-offense clause).

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 United States v. Pawlak, 822 F.3d 902, 911 (6th Cir. 2016) (concluding “rationale of Johnson

 applies equally” to the Guidelines’ definition of crime of violence); United States v. Taylor, 814

 F.3d 340, 376–79 (6th Cir. 2016) (recognizing at least four “significant differences” between the

 residual clause in § 924(c)(3)(B) and the ACCA’s residual clause and noting “the argument that

 Johnson effectively invalidated [the former] is . . . without merit”).         As such, Petitioner’s

 attempted armed bank robbery conviction remains capable of supporting his § 924(c) conviction.

 IV.    CONCLUSION

        For the reasons discussed, Petitioner’s § 2255 motion [Doc. 118] will be DENIED and

 DISMISSED WITH PREJUDICE. The Court will CERTIFY any appeal from this action

 would not be taken in good faith and would be totally frivolous. Therefore, this Court will

 DENY Petitioner leave to proceed in forma pauperis on appeal. See Rule 24 of the Federal

 Rules of Appellate Procedure. Petitioner having failed to make a substantial showing of the

 denial of a constitutional right, a certificate of appealability SHALL NOT ISSUE. 28 U.S.C. §

 2253; Rule 22(b) of the Federal Rules of Appellate Procedure.

        AN APPROPRIATE ORDER WILL ENTER.


                                        s/ Thomas A. Varlan
                                        CHIEF UNITED STATES DISTRICT JUDGE




 Section 924(c)(1)(A) makes it a crime for an individual, “in relation to any crime of violence or
 drug trafficking crime . . . for which the person may be prosecuted in a court of the United
 States, [to] use[,] carr[y] [or possess] a firearm . . . in furtherance of . . . such crime.” 18 U.S.C.
 § 924(c)(1)(A). Section 924(c)(3) goes on to define “crime of violence” as any “felony” that
 “has as an element the use, attempted use, or threatened use of physical force against the person
 or property of another” (use-of-physical-force clause); or “by its nature, involves a substantial
 risk that physical force against the person or property of another may be used in the course of
 committing the offense” (“residual clause”).
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